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     Schaufenbuel, et al. v. InvestForClosures Financial, LLC et al., Case No. 09-cv-1221
                                      Investor Summary

     LAST NAME           FIRST NAME                   CITY         STATE INVESTMENT TOTAL
Akagi              Alvin & Mary              Plymouth                MI         $216,636.10
Andrade Lopez      Graciela                  Crystal Lake            IL                $0.00
Angelini           Liam                      Pembroke Pines          FL          $35,000.00
Arya               Angiras                   Plainsboro              NJ          $30,000.00
Bebout             Brad & Linda              Columbus               OH           $89,998.94
Becker             Dan & Josie               Aztec                  NM            $3,600.00
Blume              Christine & Michael       West Palm Beach         FL          $25,000.00
Bollier            Gary                      Carmel                  IN         $160,000.00
Brady              Sean                      Billings               MT             $2,500.00
Burge              Richard                   Elgin                   IL         $125,000.00
Cavaluzzi          Joseph                    Port St. Lucie          FL          $47,950.97
Chance             Penny                     Upper Marlboro         MD           $55,000.00
Chung              Hee Ja                                      0      0          $10 000 00
                                                                                 $10,000.00
Clark              Helen                     Bellevue               WA          $138,995.86
Clark              Richard                   Bellevue               WA          $387,981.74
Clark              Roberta                   La Mirada              CA           $70,000.00
Clay               Michael                                     0      0           $8,559.60
Coleman            Lorenzo                                     0      0           $2,500.00
Connelly                                 0                     0      0                $0.00
Correia
Co   ea            Peter
                    ete                      Fall
                                              a River
                                                    e               MA             $2,518.12
                                                                                   $ ,5 8
Crider             Shirley                   Elida                  OH           $10,000.00
Crisostomo         Olivier                   Conyers                GA                 $0.00
Cupp               Frank                     Vienna                 OH           $20,000.00
Czaja              Mary                      Lutz                    FL           $2,500.00
Denhart                                  0                     0      0                $0.00
Ehrhardt           Eilene & Eugene           Sycamore                IL          $50,000.00
Fenwick            Carol                     Dekalb                  IL          $10,000.00
Fit
Fitzgerald
         ld        T
                   Tom                       Chi
                                             Chicago                 IL          $75 000 00
                                                                                 $75,000.00
Foster             Sherri                    Canfield               OH           $78,211.87
Fraga              Joseph                    Fremont                CA                 $0.00
Gisewhite          Earl                      Cortland               OH           $54,944.92
Gisewhite          Madeline                  Cortland               OH                 $0.00
Gupta              Kailash & Kanta           Gaithersburg           MD           $40,000.00
Gupta              Natasha                   Gaithersburg           MD           $65,000.00
Gupta              Nishant                   Gaithersburg           MD           $67,000.00
Gurnack            Earl & Mary Ann           Sanford                NC          $100,000.00
Hale               Dave                      Rockford                IL          $10,000.00
Hall               Wilhelm                   Park Ridge              NJ          $86,008.43
Halverson          Ruth                      New Bern               NC           $95,000.00
Hand               Chris & Patricia          Maple Glenn            PA           $11,000.00
Hartwig            Gary                      Hewitt                  NJ           $5,000.00
Herink             Paul                      Jackson                 NJ          $30,476.60
Hoover             Beverly                                     0      0          $15,000.00
                                                                                 $
Jackson            Thomas                    Cedar City             UT           $10,000.00
Jackson            Victor                    College Park           GA           $10,000.00
Jammalamadaka      Ravikumar + Sumathi       North Brunswick         NJ         $100,000.00
Kaufman            Andrew                    Hanover Park            IL          $35,000.00
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                                      Investor Summary

   LAST NAME              FIRST NAME                 CITY          STATE INVESTMENT TOTAL
Kim                Hong Ja (Sean)             Niles                  IL           $10,000.00
Knoll              Patricia                   Pensacola              FL             $8,000.00
Knoll              Stuart                     Winter Springs         FL              $7,500.00
Knowlton           G. Matthew                 Raymond               NH             $17,000.01
Krismnamachari     Sriram                     Bartlett               IL           $10,000.00
Krivanek           Rex                        San Jose              CA            $30,000.00
Lawson             William & Sarah            Vancouver             WA            $99,207.74
Leon               Maria Teresa               McAllen                TX                  $0.00
Levy               Robert                     Fremont               CA          $200,000.00
Lincoln            Mark & Denise              Plano                  TX         $183,000.00
Markus             Kathleen                   Monroe Twp             NJ         $265,000.00
Marsilio           Emilio & Jo                Youngstown            OH            $40,000.00
Martin             Ann                        Youngstown            OH             $24 488 91
                                                                                   $24,488.91
Martin             Judd & Darcey              Winter Haven           FL           $35,075.60
Mason              Glen & Jacquelyn           Lindenhurst           NY            $35,000.00
Mathews            Spencer                    Escondido             CA            $50,000.00
Meegan             Philip                     Cleveland              TN            $42,000.00
Mehta                                     0                      0    0                  $0.00
Michajewicz        Anastazia                  Rockford               IL           $13,600.00
Moar
  oa               Clyde
                   C yde & Peggy
                              eggy            Brentwood
                                                 e t ood            CA
                                                                    C              $70,000.00
                                                                                   $  0,000 00
Moar               Rex                        Alamo                 CA          $120,000.00
Mota Ramirez       Jorge                      Crystal Lake           IL                  $0.00
Murashige          Alvin                      Lovell                WY         $1,000,000.00
Ng                 Ianhong (Shelly)           Chicago                IL           $70,000.00
Noffsinger         Laura                      Canton                 MI           $50,000.00
Noffsinger         Marjorie                   West Branch            MI                  $0.00
Nunez              Rafael & Dolores           Huntley                IL             $5,000.00
O'D ll
O'Dell             Curtis
                   C ti & Stacy
                             St               All
                                              Allen                  TX          $100 000 00
                                                                                 $100,000.00
Ogundare           Temitope                   Fort-Worth             TX           $67,500.07
Ortego             Joshua                     New Haven              CT         $100,000.00
Ortiz              Richard                    Bronx                 NY            $25,000.00
O'Sullivan         Daniel                     Rockford               IL             $3,000.00
O'Sullivan         Patrick                    Rockford               IL              $4,000.00
Page               Sean & Tiffany             Richmond               IN          $323,395.38
Pastorino          James & Lori               Sterling Heights       MI          $100,000.00
Patton             Jonathan                   Valdosta              GA             $40,000.00
Pearse             Joseph                     Davenport              IA             $3,197.00
Pearse             Sarah                      Rockford               IL             $4,000.00
Principi           Michelina                  Hubbard               OH            $40,000.00
Raines             Keith                      River Ridge            LA           $94,768.06
Ramirez            Maria Teresa                                  0    0           $32,700.00
Reed               John (III) and Jan         Woodinville           WA            $85,000.00
Reed               John (IV) and Sarah        Yakima                WA          $150,000.00
                                                                                 $
Richoz             William & Carolyn S.       Elgin                  IL           $22,966.84
Riehl              Calvin                     Niles                 OH          $115,919.89
Robb               Henry & Satoko             San Francisco         CA            $35,000.00
Rodemeyer          Ronald                     Longmont              CO            $35,000.00
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      LAST NAME            FIRST NAME                CITY              STATE INVESTMENT TOTAL
Rodriguez            Andres                   Rockford                     IL         $10,000.00
Rodriguez            Louis & Sophia           Rockford                     IL          $3,600.00
Rodriguez            Louise & Joseph          Rockford                     IL          $2,500.00
Ruen                 Travis                   Moscow                       ID       $100,000.00
Salas                Carl                     Derby                       KS           $2,500.00
Sanata               Nora                     Oakdale                    MN                $0.00
Sanchez              Patrick & Margaret       DeKalb                       IL          $2,500.00
Schaufenbuel         Bradley                  Downers Grove                IL         $17,500.00
Schaufenbuel         Robert                   Cedar Rapids                 IA         $17,500.00
Schuberth            William & Linda          Woodstock                    IL       $135,000.00
Scott                John                     DeKalb                       IL         $10,000.00
Scott                Robin                    N. Lauderdale               FL          $10,036.04
Snyder               Mary O'Sullivan          Rockford                     IL         $20 180 00
                                                                                      $20,180.00
Snyder               Thomas                   Rockford                     IL          $8,061.00
Steffens             Neil                     Elgin                        IL          $5,000.00
Stettheimer          Joseph                   Lubbock                     TX        $170,000.00
Stilling             Thomas                                         0       0          $2,500.00
Suchitra             Jagannathan                  Bartlett                 IL              $0.00
Szili                Carol                        Warren                 OH           $55,458.47
Tajak
 aja                 Kathleen
                      at ee                       G
                                                  Glen
                                                    e Ellyny               IL         $60,000.00
                                                                                      $60,000 00
Terrazas             Alvaro                       Carpentersville          IL         $15,000.00
Terrazas             Leobardo                     Hampshire                IL         $15,000.00
Testa                Lenore                       Warren                 OH         $108,078.76
Utterback            Melvin                       The Villages            FL          $12,500.00
Valentin             Maria                        Elgin                    IL         $80,000.00
Vanpeursem           Ronald & Kandy                                0        0         $40,000.00
Waychoff             Timothy                      Corpus Christi          TX          $35,000.00
W d
Weed                 A d
                     Andrew   & Nancy
                                N                 Yakima
                                                  Y ki                   WA         $200 000 00
                                                                                    $200,000.00
Wilder               Vernon                       Rockford                 IL              $0.00
Wildofsky            Sam                          Springfield            OH           $85,000.00
Yakubovich           Edward                                        0        0         $10,000.00
Zhu                  Fong (Richard) & Xinyu       Nashville               TN        $318,373.54
                                                                                   $7,708,990.46
*NOTE: If an entry is 0, there is incomplete information on these entries.
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         PA Securities Commission Website

                                                                                                                                       BACK TO SEARCH
          BACK TO SEARCH RESULTS

                                                             For Immediate Release: 06/24/2005

                                      Commission Halts Unregistered Activity
                  By ROI Financial d/b/a InvestForClosures Ventures, LLC and Francis X. Sanchez

         Harrisburg, PA, 06/24/2005 — To halt the offer and sale of unregistered securities in Pennsylvania, the Pennsylvania Securities
         Commission issued a Summary Order to Cease and Desist against ROI Financial d/b/a InvestForClosures Ventures, LLC (ROI) and
         Francis X. Sanchez (Sanchez). ROI is an entity located in Woodstock, Illinois, and maintains a web site at www.roifinancial.com (Web
         Site). Also located in Woodstock, Illinois, Sanchez is the Managing Member and CEO of ROI.

         In or about May 2005, at least one Pennsylvania resident (PA Resident) observed ROI’s Web Site. The Web Site states that ROI is
         offering investors “the potential of receiving returns well above stock market returns” in “an investment in Real Estate - in Real Time - and
         Real Easy!”

         In or about May 2005, at least one PA Resident completed and submitted the contact information requested on the Web Site.

         Subsequently, in or about May and June 2005, a representative of ROI (Representative) contacted at least one PA Resident and offered
         for sale interests (Interests) in ROI.

         In or about May and June 2005, the Representative contacted at least one PA Resident and provided instructions to gain access to the
         “guest area” of the Web Site where offering materials (Materials) can be downloaded.

         The Materials consist of a Private Placement Memorandum, Investor Subscription Certification, and a Power of Attorney for ROI.

         The Materials indicate that the investment is in interests of ROI; the total capitalization amount is $5,000,000; the minimum investment
         amount is $25,000; and investor funds will be used “to establish the infrastructure of its [ROI’s] Pacific Estates community in Playa
         Ventura, Mexico.”

         The PA Resident had no substantive pre-existing relationship with ROI, Sanchez or the Representative, nor was the PA Resident an
         accredited investor with sufficient knowledge and experience in financial and business matters capable of evaluating the merits and risks
         of the investment. The Commission directed ROI, Sanchez and all affiliates to stop offering or selling the Interests in the Commonwealth
         of Pennsylvania, in violation of the 1972 Act, and in particular Section 201 thereof.

         Any further solicitations or sales made by ROI, Sanchez or their affiliates in Pennsylvania will constitute further violations of the 1972 Act.

         Any further solicitations or sales made by these respondents in Pennsylvania will constitute violations of the 1972 Act and the
         Commission's Orders. Any person who is solicited by or has information about these respondents is asked to immediately notify the
         Pennsylvania Securities Commission by calling 800-600-0007, or, in Harrisburg: (717) 787-8062, in Pittsburgh: (412) 565-5083 or in
         Philadelphia: (215) 560-2088.


                                                Alternate formats of this release may be available on request;
                                                                      call 717/787-1165.




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